Case 4:22-cv-00094-GKF-SH Document 11 Filed in USDC ND/OK on 03/09/22 Page 1 of 2




                    IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF OKLAHOMA

     AVEANNA HEALTHCARE, LLC,
                            Plaintiff,

                    v.                                    Case No. 22-CV-00094-GKF-SH

     JANE E. DOSS,
                            Defendant.


                                   ENTRY OF APPEARANCE

        To the Clerk of this court and all parties of record:

        I am admitted or otherwise authorized to practice in this court, and I appear in this

    case for: Aveanna Healthcare, LLC.


    Dated: March 9, 2022                            /s/ Jason E. Bring
                                                   Jason E. Bring, pro hac vice
    Type of Appointment:                           ARNALL GOLDEN GREGORY LLP
                                                   171 17th St. NW, Suite 2100
    ☒   Retained                                   Atlanta, GA 30363
    ☐   CJA                                        (404) 873-8500
    ☐   FPD                                        jason.bring@agg.com
    ☐   Pro Bono                                   COUNSEL FOR PLAINTIFF
    ☐   Pro Se                                     AVEANNA HEALTHCARE, LLC
Case 4:22-cv-00094-GKF-SH Document 11 Filed in USDC ND/OK on 03/09/22 Page 2 of 2




                                CERTIFICATE OF SERVICE

        I hereby certify that on March 9, 2022, I electronically transmitted the attached
    document to the Clerk of the Court using the ECF System for filing and transmittal of a
    Notice of the Electronic Filing to all ECF registrants.

                                                  /s/ Jason E. Bring
                                               Jason E. Bring




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